                                         Case 2:11-cr-00119-WBS Document 77 Filed 12/15/11 Page 1 of 3


                                     1   Kirk W. McAllister, State Bar No. 47324
                                         McALLISTER & McALLISTER, INC.
                                     2   A Professional Law Corporation
                                         1012 - 11th Street, Suite 100
                                     3
                                         Modesto, CA 95354
                                     4   Tel: (209) 575-4844

                                     5   Attorney for Defendant
                                         REBECCA GUZMAN
                                     6

                                     7
                                                                  IN THE UNITED STATES DISTRICT COURT
                                     8
                                                             FOR THE EASTERN DISTRICT OF CALIFORNIA
                                     9

                                    10   UNITED STATES OF AMERICA,                    :    Case No.: 2:11-cr-00119 WBS
                                    11                                                :
McALLISTER & McALLISTER, INC.




                                                       Plaintiff,                     :    STIPULATION AND [PROPOSED]
  A Professional Law Corporation




                                    12                                                :    ORDER CONTINUING MOTION OF
    1012 - 11th Street, Suite 100




                                                vs.                                   :    BILL OF PARTICULARS
       Modesto, CA 95354
       Tel: (209) 575-4844




                                    13                                                :
                                         REBECCA GUZMAN,                              :    Judge: Hon. Kendall J. Newman
                                    14                                                :
                                    15                 Defendant.                     :
                                                                                      :
                                    16

                                    17          IT IS HEREBY STIPULATED by and between JASON HITT and WILLIAM S.

                                    18   WONG, Assistant United States Attorneys, and KIRK W. McALLISTER, attorney for the

                                    19   defendant REBECCA GUZMAN, that the motion for bill of particulars presently scheduled for

                                    20   December 16, 2011 at 2:00 p.m. be vacated and rescheduled for February 15, 2012 at 2:00 p.m.

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                                     1          This continuance is requested to allow both the prosecution and defense time to discuss

                                     2   a possible resolution of this matter. In particular, the defendant is awaiting receipt of trial

                                     3   transcripts from the related case. After receipt and review of the transcripts, the defendant’s

                                     4   motion may be rendered moot and therefore a hearing on the motion would be unnecessary.

                                     5

                                     6                                                  Respectfully submitted,

                                     7
                                                                                        KIRK W. MCALLISTER
                                     8                                                  Attorney for Defendant
                                     9

                                    10   Dated: December 13, 2011                       /s/ Kirk W. McAllister
                                                                                        KIRK W. McALLISTER
                                    11                                                  Attorney for Defendant Rebecca Guzman
McALLISTER & McALLISTER, INC.
  A Professional Law Corporation




                                    12
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       Modesto, CA 95354
       Tel: (209) 575-4844




                                    13
                                                                                        /s/ Kirk W. McAllister
                                    14   Dated: December 13, 2011                       Authorized to sign for Mr. Hitt on 12/13/11.
                                                                                        JASON HITT
                                    15                                                  WILLIAM S. WONG
                                                                                        Assistant U.S. Attorneys
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                                     1                                             ORDER

                                     2          IT IS SO ORDERED that the motion for bill of particulars set for December 16, 2011 at
                                     3
                                         2:00 p.m. be vacated and rescheduled for February 15, 2012 at 2:00 p.m.
                                     4

                                     5   Dated: December 14, 2011
                                                                                    /s/ Kendall J. Newman__________
                                     6                                              KENDALL J. NEWMAN
                                                                                    UNITED STATES MAGISTRATE JUDGE
                                     7

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                                    11
McALLISTER & McALLISTER, INC.
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